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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

MARIA SUAREZ,

                     Plaintiff,

              v.                                        Case No. 2:19-cv-07271-GRB-SIL

SOUTHERN GLAZER’S WINE AND SPIRITS OF
NEW YORK, LLC,

                     Defendant.


                       CORPORATE DISCLOSURE STATEMENT

       Defendant Southern Glazer’s Wine and Spirits of New York, LLC, by and through its

attorneys, pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, hereby certifies that

Southern Glazer’s Wine and Spirits of New York, LLC is a wholly-owned subsidiary of Southern

Glazer’s Wine and Spirits, LLC. Southern Glazer’s Wine and Spirits, LLC has no publicly held

parent corporation owning 10% or more of its stock.


Dated: March 26, 2020
       New York, New York
                                               By:   s/ Anjanette Cabrera
                                                 Anjanette Cabrera
                                                 Stephen Stecker
                                                 Constangy, Brooks, Smith & Prophete LLP
                                                 620 Eighth Avenue, 38th Floor
                                                 New York, New York 10018
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                                                 COUNSEL FOR DEFENDANT
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this day I caused a copy of the foregoing CORPORATE

DISCLOSURE STATEMENT to be filed with the Clerk of the Court using the ECF system for

filing and transmittal of a Notice of Electronic Filing to all counsel of record:

                               Steven John Moser
                               Moser Law Firm, PC
                               3 School Street, Suite 207B
                               Glen Cove, New York 11542
                               Phone: (516) 671-1150
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                               COUNSEL FOR PLAINTIFF


 Dated: March 26, 2020                              By: s/ Anjanette Cabrera
        New York, New York                            Anjanette Cabrera
                                                      Stephen Stecker
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